                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

EMMANUEL CORNET, JUSTINE DE
CAIRES, GRAE KINDEL, ALEXIS
CAMACHO, JESSICA PAN, EMILY
KIM, MIGUEL BARRETO, and BRETT C.A. No. 1:23-cv-00441-TMH
MENZIES FOLKINS, on behalf of
themselves and all others similarly
situated,

                       Plaintiffs,

               v.

TWITTER, INC.

                           Defendant.


PLAINTIFFS’ MOTION TO PROVISIONALLY SEAL ACCOMPANYING
             EXHIBIT TO NOTICE OF ADDITIONAL
                SUPPLEMENTAL AUTHORITY


Shannon Liss-Riordan (pro hac vice)      Kate Butler, Bar I.D. No. 6017
Bradley Manewith (pro hac vice)          Kate Butler Law LLC
Thomas Fowler (pro hac vice)             1509 Gilpin Ave, Suite No. 3
LICHTEN & LISS-RIORDAN, P.C.             Wilmington, DE 19806
729 Boylston Street, Suite 2000          Phone: (302) 966-9994
Boston, MA 02116                         email: kate@katebutlerlaw.com
(617) 994-5800
Email: sliss@llraw.com
bmanewith@llrlaw.com
tfowler@llrlaw.com

Attorneys for Plaintiffs
      Pursuant to this Court’s Manuals on filing, including Electronic Filing Tips

for Attorneys and Electronic Filing of Sealed Civil Documents, Plaintiffs hereby

move to provisionally seal an exhibit that will accompany a Notice of Additional

Supplemental Authority (attached hereto as Exhibit A). The Notice of Additional

Supplemental Authority will be publicly filed, but Plaintiffs request that the exhibit

that will accompany the Notice (attached hereto as Exhibit B) remain under seal.

      The Notice of Supplemental Authority informs the Court of an additional

arbitration award (Exhibit B) that Plaintiffs’ counsel have obtained on behalf of

former Twitter employees who brought claims against Twitter in arbitration.

      Because Twitter takes the position that arbitration awards are confidential,

Plaintiffs have filed the award itself under seal. Because the arbitral award contains

some personally identifying information, if the Court is disinclined to permit the

entirety of the document to be filed under seal, Plaintiffs respectfully request the

opportunity to submit a redacted version removing identifying information for the

claimants referenced in the arbitration award.




                                          1
Dated: February 14, 2025   Respectfully submitted,

                           EMMANUEL CORNET, JUSTINE DE
                           CAIRES, GRAE KINDEL, ALEXIS
                           CAMACHO, JESSICA PAN, EMILY KIM,
                           MIGUEL BARRETO, and BRETT
                           MENZIES FOLKINS, on behalf of
                           themselves and all others similarly situated,

                           By their attorneys,

                           /s/ Kate Butler
                           Kate Butler, Bar I.D. No. 6017
                           Kate Butler Law LLC
                           1509 Gilpin Ave, Suite No. 3
                           Wilmington, DE 19806
                           Phone: (302) 966-9994
                           Email: kate@katebutlerlaw.com

                           Shannon Liss-Riordan (pro hac vice)
                           Bradley Manewith (pro hac vice)
                           Thomas Fowler (pro hac vice)
                           LICHTEN & LISS-RIORDAN, P.C.
                           729 Boylston Street, Suite 2000
                           Boston, MA 02116
                           (617) 994-5800
                           Email: sliss@llrlaw.com
                           bmanewith@llrlaw.com
                           tfowler@llrlaw.com




                             2
                         CERTIFICATE OF SERVICE

      I, Kate Butler, hereby certify that a true and accurate copy of the redacted

version of this document was served on all counsel of record for Defendant via

filing on the Court’s CM/ECF system and that Plaintiffs have served the sealed

version of this document on Defendant’s counsel via email on February 14, 2025.


                                       /s/ Kate Butler
                                       Kate Butler




                                         3
